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                       Exhibit B
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                                                                     Page 1

1

2       UNITED STATES BANKRUPTCY COURT

3       SOUTHERN DISTRICT OF NEW YORK

4       Case No. 10-13800 (SCC)

5       - - - - - - - - - - - - - - - - - - - - -x

6       In the Matter of:

7

8       INNKEEPERS USA TRUST, ET AL,

9

10                  Debtor.

11

12      - - - - - - - - - - - - - - - - - - - - -x

13

14                         United States Bankruptcy Court

15                         One Bowling Green

16                         New York, New York

17

18                         September 2, 2010

19                         4:04 PM

20

21      B E F O R E:

22      HON. SHELLEY C. CHAPMAN

23      U.S. BANKRUPTCY JUDGE

24

25

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                                                                   Page 14

1       delta of some three million dollars between their two bottom

2       lines.      Here I refer directly to Exhibit A to the Cook 2

3       declaration.      To the extent that the nonfloating rate objectors

4       are concerned that the CAPEX number is too low, I must defer to

5       the debtors' business judgment that the expenditure of the 1.5

6       percent will be adequate to maintain the properties and, more

7       importantly, that even if more must be spent if, for example,

8       an unanticipated emergency occurs at one of the properties,

9       they will do so to protect the value of the properties.         In

10      other words, the tail must not wag the dog.        The need to avoid

11      intertranche borrowings must not result in impairment of the

12      physical collateral.

13                  With respect to professional fees, while it is

14      certainly the case that holdbacks are generally paid and

15      released with some regularity, it is certainly not written in

16      stone whether and when the full twenty percent holdback gets

17      released.      We have some control over that and given that such

18      fees are the largest item in the Greenspan vs. Cook

19      controversy, I believe we can manage around that issue to

20      ensure that professional fees in and of themselves do not

21      precipitate intertranche borrowing if at all possible.

22                  Regarding the committee's objection to the granting of

23      superpriority claims with respect to avoidance actions or the

24      proceeds thereof, I agree with the committee's position and

25      decline to grant the superpriority claims.        Even though their

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1       quest for liens on the avoidance actions was withdrawn, I

2       believe the committee's objection should be sustained as the

3       withdrawal of the request for liens gives relatively empty

4       protection if the superpriority claims still remain.

5                   In sum, I believe the multiple layers and types of

6       reporting that the debtors have built into the system

7       constitute sufficient adequate protection under the

8       circumstances and I decline to modify the proposed protocol and

9       impose additional burdens and costs on the debtors at this

10      point in their Chapter 11 cases.          I find that the debtors have

11      sustained their burden to demonstrate that the consolidated

12      cash management system and proposed adequate protection scheme

13      are an appropriate exercise of their business judgment and that

14      the lenders whose cash collateral is being used are adequately

15      protected as contemplated by the Bankruptcy Code.

16                  Should Midland, LNR or any of the other objectors

17      encounter a specific problem with reporting or any other aspect

18      of the proposed adequate protection that cannot be resolved

19      between the parties, such party has the right to come to this

20      court and seek immediate relief -- someone's shuffling papers,

21      so I hope you all heard that.

22                  All right.    Mr. Carmel?

23                  MR. CARMEL:    Yes, Your Honor?

24                  THE COURT:    All right.    That's all I have.   I have

25      reviewed the order and other than the point with respect to the

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